Exhibit 2
                                        U.S. Patent No. 8,244,586 (“’586 Patent”)

      Roku’s advertising platform infringes at least Claim 1 of the ’586 Patent.


           Claim 1                                                    Roku’s advertising platform
1. A tangible computer system    To the extent the preamble is limiting, Roku’s advertising platform includes a tangible computer
programmed to implement a        system programmed to implement a method of securing revenue from offsite targeted Internet
method of securing revenue       advertising.
from offsite targeted Internet
advertising, the method          For example, Roku’s advertising platform delivers electronic advertisements to audiences who
comprising:                      visited a first Internet site, within ad space acquired by Roku on “second” Internet sites, as shown
                                 further below.
                                 See, e.g.:




                                 Source: https://info.advertising.roku.com/Oneview_Product_Guide (Roku
                                 OneView_The_Ad_Platform_Built_for_TV_Streaming_One_Sheet.pdf)


                                                                  1
            Claim 1                                                       Roku’s advertising platform
(a) automatically creating           Roku’s advertising platform automatically creates records of a multitude of visitor computers that
records of a multitude of            visit a first Internet site using a tag on each of such visitor computers.
visitor computers that visit a
                                     For example, Roku’s advertising platform automatically creates a computerized record (using,
first Internet site using a tag on
each of such visitor computers;      e.g., cookies, pixel tags, or similar technologies) when users visit a “first” Internet site that is
                                     desirable to Roku advertisers.
                                     See, e.g.:




                                                                      2
            Claim 1                                                       Roku’s advertising platform




                                     Source: https://docs.roku.com/published/userprivacypolicy/en/us
(b) automatically facilitating       Roku’s advertising platform automatically facilitiates direction of at least one off-site
direction of at least one off-site   advertisement to visitor computers visiting a second Internet site as a consequence of computer-
advertisement to visitor             determining, using the tags and the records, that the visitor computers have visited the first
computers visiting a second          Internet site, which off-site advertisement concerns at least one offering of a third-party advertiser
Internet site as a consequence       that has paid to display said advertisement on visitor computers that have visited the first Internet
of computer-determining,             site and has displayable subject matter that is targeted to visitors of the first Internet site based on
using the tags and the records,      visitor profile information connected to the tag.
that the visitor computers have

                                                                      3
            Claim 1                                                    Roku’s advertising platform
visited the first Internet site,   For example, Roku’s advertising platform directs an ad to visitors of the “second” website by
which off-site advertisement       checking the computerized record discussed above for limitation 1(a) and as a result causing an ad
concerns at least one offering     to be delivered to the visitor. As a further example, the ad targeted at the visitor to the “second”
of a third-party advertiser that   website contains subject matter relevant to visitors of the “first” site.
has paid to display said
advertisement on visitor           See, e.g.:
computers that have visited the
first Internet site and has
displayable subject matter that
is targeted to visitors of the
first Internet site based on
visitor profile information
connected to the tag; and




                                   Source: https://advertising.roku.com/advertiser-solutions




                                                                   4
Claim 1       Roku’s advertising platform




          5
            Claim 1                                                       Roku’s advertising platform




                                     Source: https://docs.roku.com/published/userprivacypolicy/en/us
(c) as a result of the acts in       As a result of the acts in parts (a) and (b), Roku’s advertising platform automatically causes the
parts (a) and (b), automatically     first Internet site to receive revenue from the off-site advertisement being directed to the visitor
causing the first Internet site to   computers that have visited the first Internet site.
receive revenue from the off-
site advertisement being

                                                                      6
           Claim 1                                                   Roku’s advertising platform
directed to the visitor           For example, Roku automatically receives payment for the ad directed to the user of the “second”
computers that have visited the   site, and compensation for that advertisement’s display is automatically divided between Roku
first Internet site.              and the owner of the “first” site.
                                  See, e.g.:




                                  Source: https://info.advertising.roku.com/Oneview_Product_Guide (Roku
                                  OneView_The_Ad_Platform_Built_for_TV_Streaming_One_Sheet.pdf)




                                                                 7
Claim 1                                     Roku’s advertising platform




          Source: https://developer.roku.com/docs/features/engagement/self-serve-promotions.md




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